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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 EDELSON PC,                                       Case No.: 20-cv-07115

                Plaintiff,
                                                   Hon. Matthew F. Kennelly
        v.

 THOMAS GIRARDI, et al.

                Defendants.


     JOINT STATUS REPORT CONCERNING DEPOSITION OF KEITH GRIFFIN

       Pursuant to the Court’s order concerning the deposition date for Keith Griffin (dkt. 207),

the Parties have agreed that Plaintiff will take Mr. Griffin’s deposition on January 12, 2023. This

deposition is scheduled on a day on which Mr. Saba is not scheduled to be in trial. The Parties

have agreed and propose that this deposition will not be moved unless by (1) stipulation of the

Parties, (2) order of the Court in which Mr. Saba is currently engaged in trial requiring him to be

in court in which case Mr. Saba will report that change to this Court, or (3) order of this Court.



                                              Respectfully submitted,

                                              EDELSON PC

Dated: December 20, 2022                      By: /s/ J. Eli Wade-Scott
                                              One of Plaintiff’s Attorneys

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Dated: December 20, 2022             By: /s/ Leigh P. Robie
                                     One of His Attorneys

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                                     KEITH GRIFFIN

Dated: December 20, 2022             By: /s/ Ryan Saba
                                     One of His Attorneys

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